         Case 6:17-cv-00924-JR          Document 5           Filed 07/13/17        Page 1 of 2



Print Name: Evan Paul Lux
Sid# 16081773                                                            FILED t3 .JUL '17 11 :02USDC-ORP
Snake River Correctional Institution
777 Stanton Blvd
Ontario, Or. 97914


                     UNITED STATES DISTRICT COURT FOR THE

                                   DISTRICT OF OREGON

                                                     )
     EVAN PAUL LUX                )
                                  )                            Case No. 6:17-CV-00924-JR
                      Plaintiff,  )
                                  )
     v.                           )                            MOTION TO HOLD IN
                                  )                            ABEYANCE
     CITY OF KEIZER, ET AL        )
                                  )
                                  )
                      Defendants. )
                                  )
     ~~~~~~~~~~-)

     COMES NOW Evan Paul Lux and respectfully moves this court for an order to hold the

following case #6: l 7-cv-00924-jr in abeyance until the defendant has exhausted all state and

federal remedies case# l 6cv24023 Lux v. Nooth, At the finalization of the Post Conviction

Relief, so the Plaintiff does not exceed the statute of limitations on the claims presented. - - - - - - - -

     Dated this 5th day of July 2017.


                                                         Respectfully Submitted,

                                                          c/~
                                                         (Signature)
                                                          Print Name: Evan Paul Lux
                                                          Sid# 16081773
                                                          Snake River Correctional Institution
                                                           777 Stanton Blvd.
                                                           Ontario, Or 97914




PAGE I OF 1      MOTION TO HOLD IN ABEYANCE
        Case 6:17-cv-00924-JR                Document 5        Filed 07/13/17          Page 2 of 2




                                CERTIFICATE OF SERVICE

CASE NAME: lUY-\0       2a,,._,\ ).\J>'f.-
CASE NUMBER: (if known)           lo~ iJ ·- (,V- 0Dq l~·- ""3'2-

       COMES NOW,        EW\N Po-.\A\ l»f                         , and certifies the following:
That I am incarcerated by the Oregon Department of Corrections at            SN\l\JtG \IUvtvL


       That on the _]__day of ·--;sw...,l         , 20_t}_, I personally placed in the
Correctional Institution's mailing servic A TRUE COPY of the following:




      I placed the above in a securely enclosed, postage prepaid envelope, to the person(s)
named at the places addressed below:


  Orftcr OY IH~ CL02¥-




                                                 (Signature)

                                                 Print Name {;(/(}-YI.   P.. {ii<.'/
                                                 S.I.D. No.: lhMl>f712
                                                   717 S"1YltJT6N thL-¥.t)




Page 1 of 1 -Certificate of Service                                                     Form 03.015
